Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 1 of 11 PageID #: 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA

Derek Mortland, Individually,                    )
                                                 )
               Plaintiff,                        )   Case No. 1:21-cv-2892
v.                                               )
                                                 )
MKS Lodgings LLC, an Indiana limited             )   Judge:
liability company,                               )
                                                 )
                                                 )
                                                 )
               Defendant.                        )



               COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF

       Plaintiff, Derek Mortland, individually, by and through the undersigned counsel, Owen

B. Dunn, Jr., Counsel for Plaintiff, hereby files this Complaint against Defendant MKS

LODGINGS LLC, an Indiana limited liability company for injunctive relief, damages,

attorneys’ fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”), alleging as follows:

                                 JURISDICTION AND VENUE

1.     This action is brought by the Plaintiff, Derek Mortland, individually, and on behalf of

       individuals similarly situated, pursuant to the enforcement provision of the American

       with Disabilities Act of 1990 (the “ADA”), 42 U.S.C. § 12188(a), against the Defendant

       as delineated herein.

2.     The Court has jurisdiction pursuant to the following statutes: 28 U.S.C. § 1331, which

       governs actions that arise from the Defendant’s violations of Title III of the ADA, 42

       U.S.C. § 12181, et seq.; 28 U.S.C. § 1331, which gives the District Courts original


                                                1
Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 2 of 11 PageID #: 2




      jurisdiction over civil actions arising under the Constitution, laws, or treaties of the

      United States; 28 U.S.C. § 1343(3) and (4), which gives District Courts jurisdiction over

      actions to secure civil rights extended by the United States government; and 28 U.S.C. §

      1367, as Count II utilizes the same core of operative facts as Count I, and is therefore

      subject to supplemental jurisdiction.

3.    Venue is proper in the Southern District of Indiana as venue lies in the judicial district of

      the property situs. The Defendant’s property and operations complained of by Plaintiff

      are located in this judicial district, where the business of public accommodation is

      conducted, including the acts complained of herein.

                                           PARTIES

4.    Plaintiff, Derek Mortland (“Plaintiff”) is an Ohio resident, is sui juris, and qualifies as an

      individual with disability as defined by the ADA, 42 U.S.C. § 12102(2), 28 C.F.R.

      36.104.

5.    Defendant MKS LODGINGS LLC operates and owns a Sleep Inn & Suites and

      Conference Center located at 1244 West 16th St., Indianapolis, IN in Marion County.

      Plaintiff has patronized Defendant’s hotel and business previously as a place of public

      accommodation.

6.    Upon information and belief, the facilities owned by MKS LODGINGS LLC are non-

      compliant with the remedial provisions of the ADA. As Defendant owns, leases, leases

      to, or operates a place of public accommodation as defined by the ADA and the

      regulations implementing the ADA, 28 CFR 36.201(a) and 36.104, Defendant is

      responsible for complying with the obligations of the ADA. Defendant’s facilities as a

      hotel and place of public accommodation fails to comply with the ADA and its

                                                2
Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 3 of 11 PageID #: 3




      regulations, as also described further herein.

7.    Plaintiff is paralyzed as a result of a spinal cord injury and permanently uses a wheelchair

      for mobility. As such, he is substantially limited in performing one or more major life

      activities, including but not limited to, standing and walking, as defined by the ADA and

      its regulations thereto. Plaintiff has visited the property that forms the basis of this

      lawsuit as an overnight hotel guest and plans to return to the property to avail himself of

      the goods and services offered to the public at the property.

8.    Plaintiff is a race car enthusiast, as well as National Auto Sport Association (NASA) time

      trials driver and National Auto Sport Association driving instructor for the NASA Great

      Lakes Region. Mr. Mortland has been driving and instructing two to three times annually

      at Putnam Park Road Course west of Indianapolis every year since 2013 as well as

      attending banquets and functions for his motorsports clubs.

9.    When Mr. Mortland drives and instructs events in the region he, and sometimes his wife,

      often spend an additional day in and around the city.

10.   Additionally, Plaintiff himself is employed as an ADA speaker, consultant, expert and

      coordinator, with one aspect of his expertise focusing on inspection of places of public

      accommodation for ADA compliance and in that capacity has consulted for private

      clients in Northern and Central Indiana.

11.   Mr. Mortland has been a bona fide customer as an overnight guest at the property that

      forms the basis of this lawsuit. During the Plaintiff’s stay on February 21-22, 2020 the

      Plaintiff encountered architectural barriers at the subject property that violate the ADA

      and its regulations. The barriers to access at the property have endangered Plaintiff’s

      safety.

                                                 3
Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 4 of 11 PageID #: 4




12.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

      Defendant’s non-compliance with the ADA with respect to this property as described but

      not necessarily limited to the allegations contained in this complaint.         Plaintiff has

      reasonable grounds to believe that he will continue to be subjected to discrimination in

      violation of the ADA by the Defendant. Plaintiff desires to visit the Defendant’s place of

      business again on future occasions, not only to avail himself of the goods and services

      available at the property but to assure himself that this property is in compliance with the

      ADA so that he and others similarly situated will have full and equal enjoyment of the

      hotel and its amenities without fear of discrimination.

13.   Completely independent of the personal desire to have access to this place of public

      accommodation free of illegal barriers to access, Plaintiff also acts as a "tester" for the

      purpose of discovering, encountering, and engaging discrimination against the disabled in

      public accommodations. When acting as a "tester," Plaintiff employs a routine practice.

      Plaintiff personally visits the public accommodation; engages all of the barriers to access,

      or at least all of those that Plaintiff is able to access; and tests all of those barriers to

      access to determine whether and the extent to which they are illegal barriers to access;

      proceeds with legal action to enjoin such discrimination; and subsequently returns to the

      premises to verify its compliance or non-compliance with the ADA and to otherwise use

      the public accommodation as members of the able-bodied community are able to do.

      Independent of other visits, Plaintiff also intends to visit the premises annually to verify

      its compliance or non-compliance with the ADA, and its maintenance of the accessible

      features of the premises. In this instance, Plaintiff, in Plaintiff’s individual capacity and

      as a “tester,” visited the Facility, encountered barriers to access at the Facility, and

                                                4
Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 5 of 11 PageID #: 5




       engaged and tested those barriers, suffered legal harm and legal injury, and will continue

       to suffer such harm and injury as a result of the illegal barriers to access and the ADA

       violations set forth herein.

14.    The Defendant has discriminated against the individual Plaintiff by denying him access to

       the full and equal enjoyment of the goods, services, facilities, privileges, advantages

       and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

15.    The Defendant has discriminated and is continuing to discriminate, against the Plaintiff in

       violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

       1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

       $500,000 or less).

16.    A preliminary inspection of the Sleep Inn & Suites and Conference Center, including its

       facilities, has shown that many violations of the ADA exist. These violations include, but

       are not limited to:

Accessible Routes and Parking

       A. Designated accessible parking ground surfaces have excess slope and cross slopes, in
          violation of the ADA whose remedy is readily achievable.

       B. The accessible parking access aisles do not lead to an accessible route, in violation of
          the ADA whose remedy is readily achievable.

       C. There are no designated van accessible parking spaces, in violation of the ADA
          whose remedy is readily achievable.

       D. There is greater than a ½ inch change in level at the entrance threshold to the hotel, in
          violation of the ADA whose remedy is readily achievable.

       E. There is no accessible route from the parking to the entrance due to the presence of
          curbs, in violation of the ADA whose remedy is readily achievable.

       F. There are mat and carpets not firmly secured, in violation of the ADA whose remedy
          is readily achievable.

                                                5
Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 6 of 11 PageID #: 6




Lobby Restrooms & Conference Center Restrooms (multiple set of restrooms share same barriers
to access)


       G. The men’s restroom door lacks required maneuvering clearance at the latch side to
          exit, in violation of the ADA whose remedy is readily achievable.

       H. There are amenities in the men’s room, including a paper towel dispenser, mounted
          above allowable height range, in violation of the ADA whose remedy is readily
          achievable.

       I. The men’s restroom toilet compartment lacks the required clear floor space around
          the water closet, in violation of the ADA whose remedy is readily achievable.

       J. The men’s restroom toilet compartment door is not self-closing and lacks door pulls
          on both sides, in violation of the ADA whose remedy is readily achievable.

       K. The men’s room mirror is mounted above allowable height above the finish floor, in
          violation of the ADA whose remedy is readily achievable.

       L. The restroom lavatory drain and water pipes are not adequately insulated to protect
          against contact and scalding, in violation of the ADA whose remedy is readily
          achievable.

       M. Upon information and belief, the women’s restrooms contains similar barriers to
          accessibility, in violation of the ADA whose remedy is readily achievable.

Access to Goods and Services

       N. The registration desk’s existing alternate counter is used for storage and display of
          hotel amenities and food products rather than for use as a guest accessible registration
          counter surface, in violation of the ADA whose remedy is readily achievable.

       O. There are not two accessible means of entry to the swimming pool including no fixed
          pool lift, in violation of the ADA whose remedy is readily achievable.

       P. The lobby dining area does not have at least 5% accessible seated or standing dining
          surfaces with required knee and toe clearances, heights and clear floor space, in
          violation of the ADA whose remedy is readily achievable.

       Q. Some amenities in the breakfast area are located above allowable reach range, in
          violation of the ADA whose remedy is readily achievable.

       R. The guest laundry room bill change machine contains operable parts in excess of
          allowable reach range, in violation of the ADA whose remedy is readily achievable.

                                                6
Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 7 of 11 PageID #: 7




      S. The guest laundry room door does not have required accessible maneuvering
         clearance at the latch side to exit the room, in violation of the ADA whose remedy is
         readily achievable.

      T. The guest laundry room dryers are all located above allowable reach range to their
         operable parts, in violation of the ADA whose remedy is readily achievable.

      U. The guest laundry room sink lacks required knee and toe clearance, in violation of the
         ADA whose remedy is readily achievable.

      V. The soap vending projects into the circulation path and presents a danger to visually
         impaired, in violation of the ADA whose remedy is readily achievable.

Designated Accessible Guestroom #405

      W. The lavatory mirror and vanity mirror are both located above allowable height from
         the finish floor to the bottom of the reflective surface, in violation of the ADA whose
         remedy is readily achievable.

      X. The water closet does not have required clear floor space measured from the rear
         wall, in violation of the ADA whose remedy is readily achievable.

      Y. The bathtub lacks a shower bench or removable shower chair, in violation of the
         ADA whose remedy is readily achievable.

      Z. The bathtub grab bars lengths and placements are non-compliant, in violation of the
         ADA whose remedy is readily achievable.

      AA. The bathtub faucet controls are not located between the rim and the centerline of
        the tub, in violation of the ADA whose remedy is readily achievable.

      BB. The hand held sprayer is located above allowable reach range and does not have a
         non-positive shutoff, in violation of the ADA whose remedy is readily achievable.

      CC. The toilet paper dispenser is not mounted in the required location, in violation of
         the ADA whose remedy is readily achievable.

      DD. The guestroom thermostat is mounted in excess of allowable reach range to its
        operable parts, in violation of the ADA whose remedy is readily achievable.

Designated Accessible Guestrooms

      EE. Upon information and belief, there are an insufficient total number, per the ADA
          implementing regulations, of mobility accessible guestrooms equipped with mobility
          features. Whereas, a hotel with 91 guestrooms is required to have five guestrooms
          equipped with mobility features, including one equipped with roll-in showers.
                                               7
Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 8 of 11 PageID #: 8




       FF. Upon information and belief, Derek Mortland believes substantially similar barriers
           to handicap access for the mobility impaired exist in all guestrooms that are
           designated as mobility accessible guestrooms throughout the hotel. Including the roll-
           in shower fitted mobility accessible guestrooms and bathtub fitted mobility accessible
           guestrooms.

Policies and Procedures

       GG. The Defendant lacks or has inadequate defined policies and procedures for the
         assistance of disabled patrons, in contravention of the ADA whose remedy is readily
         achievable.

17.    The discriminatory violations described in Paragraph 16 by Defendant MKS

       LODGINGS LLC are not an exclusive list of the Defendant’s ADA violations. Plaintiff

       requires further inspection of the Defendant’s place of public accommodation and

       facilities in order to photograph and measure all of the discriminatory acts violating the

       ADA and all of the barriers to access. The Plaintiff has been denied access to

       Defendant’s accommodations; benefit of services; activities; and has otherwise been

       discriminated against and damaged by the Defendant, as set forth above. The individual

       Plaintiff, and all others similarly situated will continue to suffer such discrimination,

       injury and damage without the immediate relief provided by the ADA as requested

       herein. In order to remedy this discriminatory situation, the Plaintiff requires an

       inspection of the Defendant’s place of public accommodation, facilities and operations in

       order to determine all of the areas of non-compliance with the Americans with

       Disabilities Act.

                                COUNT I
            VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

18.    Plaintiff restates the allegations of ¶¶1-17 as if fully rewritten here.

19.     The hotel at issue, as owned and operated by MKS LODGINGS LLC, constitutes a

                                                  8
Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 9 of 11 PageID #: 9




      public accommodation and service establishment, and as such, must be, but is not, in

      compliance with the Americans with Disabilities Act ("ADA") or Americans with

      Disabilities Act Accessibility Guidelines ("ADAAG").

20.   Plaintiff was unlawfully denied full and equal enjoyment of the goods, services, facilities,

      privileges, and advantages of the property on the basis of disability due to Defendant’s

      failure to comply with Title III of the Americans with Disabilities Act and its

      accompanying regulations, as prohibited by 42 U.S.C. § 12182, et seq. Defendant will

      continue to discriminate against Plaintiff and others with disabilities unless and until

      Defendant is compelled to remove all physical barriers that exist at the facility, including

      those specifically set forth herein, and make the facility accessible to and usable by

      persons with disabilities, including Plaintiff.

21.   The Plaintiff, and others similarly-situated, is presently without adequate remedy at law

      and is damaged by irreparable harm.           Plaintiff reasonably anticipates that he will

      continue to suffer irreparable harm unless and until Defendant is required to remove the

      physical barriers, dangerous conditions, and ADA violations that exist at the Facility,

      including those set forth herein.

22.   Pursuant to 42 U.S.C. §12187, Plaintiff requests that the Court issue an injunction

      requiring Defendant to make such readily achievable alterations as are legally required to

      provide full and equal enjoyment of the goods, services, facilities, privileges, and

      advantages on its property to disabled persons. In connection with that relief, Plaintiff

      requests reasonable attorney’s fees and costs of maintaining this action.




                                                9
Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 10 of 11 PageID #: 10




                                        COUNT II
                        VIOLATION OF INDIANA CIVIL RIGHTS LAW
                                  In. Code §22-9-1 et seq.

 23.   Plaintiff restates the allegations of ¶¶1 - 2 2 as if fully rewritten here.

 24.   MKS LODGINGS LLC operates a "place[s] of public accommodation" pursuant to In.

       Code §22-9-1-3(m).

 25.   Defendant committed an unlawful act pursuant to In. Code §22-9-1-2(a) by denying

       Plaintiff the full enjoyment of its goods, services, accommodations, advantages, facilities,

       or privileges.

 26.   Pursuant to In. Code §22-9-1-6, Plaintiff is entitled to compensatory and punitive damages,

       and attorneys’ fees and costs, in an amount to be determined at trial, but in any event not

       less than $25,000.00, as well as issuance of an injunction requiring Defendant to allow

       full and equal enjoyment of its goods, services, facilities, privileges, and advantages to

       disabled persons.

 WHEREFORE, Plaintiff demands,

        For COUNT I, an injunction requiring Defendant to make all readily achievable

       alterations and institute policies and procedures to allow full and equal enjoyment of the

       goods, services, facilities, privileges, and advantages to disabled persons, and the

       reasonable attorneys’ fees and costs of maintaining this action; and,

       For COUNT II, compensatory and exemplary damages in an amount to be determined at

       trial, but in any event not less than $25,000.00, as well as issuance of an injunction

       requiring Defendant to allow full and equal enjoyment of the goods, services, facilities,

       privileges, and advantages to disabled persons.



                                                   10
Case 1:21-cv-02892-JPH-DML Document 1 Filed 11/22/21 Page 11 of 11 PageID #: 11




                                    Respectfully Submitted,

                                    Counsel for Plaintiff:

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                                      11
